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                                                                      FILED: April 12, 2023


                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


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                                              No. 22-1927
                                            (3:20-cv-00740)
                                         ___________________

        CHRISTOPHER FAIN; SHAUNTAE ANDERSON, individually and on behalf
        of all others similarly situated

                       Plaintiffs - Appellees

        v.

        WILLIAM CROUCH, in his official capacity as Cabinet Secretary of the West
        Virginia Department of Health and Human Resources; CYNTHIA BEANE, in her
        official capacity as Commissioner for the West Virginia Bureau for Medical
        Services; WEST VIRGINIA DEPARTMENT OF HEALTH AND HUMAN
        RESOURCES, Bureau for Medical Services

                       Defendants - Appellants

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        STATE OF WEST VIRGINIA

                       Amicus Supporting Appellant
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        COLORADO; DELAWARE; DISTRICT OF COLUMBIA; FAIRNESS WEST
        VIRGINIA; MOUNTAIN STATE JUSTICE, INC.; NATIONAL HEALTH LAW
        PROGRAM; CENTER FOR MEDICARE ADVOCACY; CONSTITUTIONAL
        LAW PROFESSORS; AMERICAN MEDICAL ASSOCIATION; ENDOCRINE
        SOCIETY; NATIONAL ASSOCIATION OF NURSE PRACTITIONERS IN
        WOMEN'S HEALTH; AMERICAN PSYCHIATRIC ASSOCIATION;
        SOCIETY OF OB/GYN HOSPITALISTS; ILLINOIS; MAINE; MARYLAND;
        MASSACHUSETTS; MINNESOTA; NEVADA; NEW JERSEY; NEW
        MEXICO; NEW YORK; OREGON; RHODE ISLAND; VERMONT;
        WASHINGTON

                     Amici Supporting Appellee

                                      ___________________

                                           ORDER
                                      ___________________

              Upon a sua sponte poll of the court, a majority of judges in regular active

        service and not disqualified voted to rehear this case en banc.

              IT IS ORDERED that rehearing en banc is granted.

              The parties shall file 16 additional paper copies of their briefs and

        appendices previously filed in this case within 10 days.



                                               For the Court

                                               /s/ Patricia S. Connor, Clerk
